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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

ABBOTT DIABETES CARE INC. and                      )
ABBOTT DIABETES CARE LIMITED,                      )
                                                   )
                       Plaintiffs,                 )
                                                   )   C.A. No. 21-977 (KAJ)
        v.                                         )
                                                   )
DEXCOM, INC.,                                      )
                                                   )
                       Defendant.                  )

        STIPULATION AND [PROPOSED] ORDER REGARDING CASE DEADLINES

        Pursuant to D. Del. LR 16.4 and the Order of this Court, Plaintiffs Abbott Diabetes Care

Inc. and Abbott Diabetes Care LLC (collectively, “Plaintiffs” or “Abbott”) and Defendant

Dexcom, Inc. (“Dexcom”) (collectively, “the Parties”), by and through their respective counsel of

record, hereby stipulate as follows:

        WHEREAS, the Parties conducted approximately two dozen depositions on or before

January 26, 2023;

        WHEREAS, the Parties conducted six depositions between January 26, 2023 and today;

        WHEREAS, the Court has moved the trial date back in this case by two weeks, to

November 6, 2023;

        WHEREAS, counsel for the Parties have conferred and agreed that, subject to the Court’s

leave, it will benefit the orderly progression of the case to adjust other case deadlines;

        WHEREAS, the modified dates the Parties propose would leave the Court with the same

amount of time to consider dispositive and Daubert motions;

        WHEREAS, counsel for the Parties hereby certify that they have sent a copy of this request

to their clients;
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          NOW, THEREFORE, AND GOOD CAUSE BEING SHOWN, THE PARTIES

STIPULATE AND JOINTLY REQUEST THAT THE COURT ORDER AS FOLLOWS:

          1.      The Parties are granted leave to conduct the depositions of Delve, LLC (by Abbott

on 2/17/23), Jeffery Funderburk (by DexCom on 2/22/23), Aidan O’Sullivan (by Abbott on

2/23/23), Neeta Sharma (by Abbott on 2/24/23), Louis Pace (by DexCom on 02/28/23), IDEO, LP

(by Abbott on a date to be determined), and Medtronic, Inc. (by Abbott on a date to be determined).

          2.      The Parties are granted leave to complete certain short, follow-up depositions (on

or before March 3, 2023) pursuant to Fed. R. Civ. P. 30(b)(6) by agreement among the Parties or

pursuant to further order of the Court.

          3.      As to any witness not previously deposed whom a propounding party intends to

present at trial, the opposing party will be allowed a 4-hour deposition no later than 30 days before

trial.

          4.      Case deadlines are adjusted per the chart below.


                                                                              Proposed Revised
                         Event                            Current Deadline
                                                                                  Deadline

    Last day for Fact Depositions (other than any
    limited pre-trial depositions taken pursuant to       January 26, 2023   March 3, 2023
    paragraph 3 above)1
                                                                             March 9, 2023 at
    Discovery Conference                                  Not Applicable
                                                                             10:00 a.m.
    Hearing on DexCom’s Motion for Leave to                                  March 9, 2023 at
                                                          Not Applicable
    Amend its Answer                                                         10:00 a.m.
    Expert Disclosure Deadline                            March 2, 2023      March 14, 2023
    Expert Rebuttal Reports                               March 30, 2023     April 11, 2023
    Close of Expert Discovery                             April 25, 2023     May 5, 2023


1
 Non-parties IDEO and Medtronic have limited availability and therefore it may be necessary to
proceed with these depositions after March 3. If these depositions occur after expert reports are
exchanged, the Parties will be able to serve short supplements regarding evidence from those
depositions.

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                                                                              Proposed Revised
                       Event                         Current Deadline
                                                                                  Deadline

 Opening Briefs for Case Dispositive Motions         May 8, 2023              May 19, 2023
 Answering Briefs for Case Dispositive Motions       May 24, 2023             June 7, 2023
 Reply Briefs for Case Dispositive Motions           June 6, 2023             June 16, 2023
 Hearing on Dispositive Motions and Daubert
                                                     June 16, 2023            June 29, 2023
 Motions
 Pretrial Conference                                 September 22, 2023       October 6, 2023
 Trial                                               October 23, 2023         November 6, 2023

MORRIS, NICHOLS, ARSHT & TUNNELL LLP                SHAW KELLER LLP

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Attorneys for Plaintiffs                            Attorneys for Defendant

February 17, 2023


               SO ORDERED this _____ day of February, 2023.



                                             United States Circuit Court Judge




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